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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA                         :
                                                     :
                  v.                                 :        CRIMINAL NO. 21cr409
                                                     :
RUBEN VERASTIGUI,                                    :
                                                     :
                           Defendant.                :

                                       STATEMENT OF OFFENSE

        The parties in this case, the United States of America and the defendant, Ruben Verastigui

stipulate and agree that the following facts are true and accurate. These facts do not constitute all of

the facts known to the parties concerning the charged offense; they are being submitted to

demonstrate that sufficient facts exist that the defendant committed the offense to which he is

pleading guilty: receipt of child pornography in violation of 18 U.S.C. § 2252(a)(2).

                                              Statement of Facts

1. On or about June 12, 2020, HSI Special Agents began investigating a group of individuals who

were trading child pornography on a particular website, hereinafter Application A.1 HSI recovered

chat messages from this particular group after executing search warrants to recover several group

members’ electronic devices. These chats revealed that the group had at least 18 members, one of

which was defendant Verastigui. Verastigui used the display name “Landon” and the username

“@somethingtaken.”

2. In the chat, Verastigui shared child pornography videos with another member of the group and

made numerous comments about sexually abusing children. He was active in the group from April

2020 through February of 2021. For example, on April 13, 2020, Verastigui, who was on the


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  The true name of the website is known to law enforcement but not revealed to protect the integrity of the ongoing
investigation.
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Internet at his residence in the District of Columbia, indicated his preference for babies, saying they

were his “absolute favorite” and soliciting another member for videos of babies being raped. The

other group member promptly sent Verastigui a video of a baby being raped, and Verastigui

responded, “FUCK YES!!!” The other group member then sent numerous other child pornography

videos to Verastigui, including depictions of adults performing oral sex on babies. Verastigui

commented on these videos, saying he “wished they were longer.”

3.   On February 5, 2021, Homeland Security agents executed a search warrant at Verastigui’s

apartment in the District of Columbia. Verastigui was living alone and present during the time of

the search. He admitted to being Landon on Application A and acknowledged using the Internet to

view, receive, and distribute child pornography in the group while at his D.C. residence. He stated

that he knew the purpose of the group was to exchange explicit images of children. He identified

his electronic devices.

4.     A forensic examination of Verastigui’s phone revealed 162 videos and over 50 images of

child pornography. Verastigui downloaded at least one of these videos of child pornography

between the dates of April 13, 2020 and the date of the search warrant, and did so from his

residence in the District of Columbia. Verastigui received many of the videos and images of child

pornography in the Application A and other group chats, or from private users sending him the files

directly, and did so between the dates of April 13, 2020 and the date of the search warrant from his

residence in the District of Columbia.




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                                                              Respectfully,
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                                                              eHANNINGD. PHII::.LIPS
                                                              A'CTINGUNI:rED-STATES ATTORNEY



                                                              April.N. Russo
                                                              Assistant United States Attorney


                                             DEFENIDANT'S AeKN0WI£DGN1ENT
                        I, Ruben Verastigui, have read this Statement-of the'0ffense and have discussed' it with my
               attorney. I fully understand this Statement of the Offense. I agree and acknowledge by. my signature
               that this Statement of the Offense is true and accurate. I·do this.voluntarily and of<my own free will.
               No threats have been made to,me nor am I under the influence, of anything that could impede my
               ability to understand this Statement of the 0ffensefully.


               Bate:   k/\'sIML\                      R~lr~
                                                      Defendant


                                             A:IT0RNEY'S.ACKNOWLEDGMENif

                     I have readthis:8tatement of the Offense, and;have reviewed~itwith my client.fully. I,concur
              in*my c1ient'sdesire to adopt this Statement of the Offense a~.true and accurate.




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                                                     Attorney for Befendant
